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                               IN THE UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF ARKANSAS
                                       FAYETTEVILLE DIVISION
                                    UNITED STATES OF AMERICA

UNITED STATES OF AMERICA                                                                      PLAINTIFF

           v.                                   Case No.5:21CR-50014-001

JOSHUA JAMES DUGGAR                                                                         DEFENDANT

                                      PRETRIAL SCHEDULING ORDER

I.          TRIAL SETTING AND PRETRIAL CONFERENCE

            This case is set for trial on July 6, 2021 at 9:00 a.m. in Fayetteville, Arkansas,

before the Honorable Timothy L. Brooks. A pretrial conference shall be conducted on

July 1, 2021 at 9:00 a.m. in Fayetteville, Arkansas.

II.         PRETRIAL DISCOVERY AND INSPECTION

            A.       Requests for Discovery

            As the obligation for reciprocal discovery pursuant to Rule 16 of the Federal Rules

of Criminal Procedure arises only after a request for discovery has been made by the

Defendant, the discovery obligations of the Government as set forth in this order will take

effect only upon the Defendant requesting discovery either by making a request on the

record at arraignment, which will be reflected in the Court's minutes, or by filing a

Notice of Request for Discovery within five (5) days1 of the date of arraignment.

            B.       Government’s Disclosures

            Within seven (7) days of the Defendant's request for discovery, the Government

must disclose and provide copies to the Defendant's attorney of the specific materials


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     All deadlines in this order are calculated as calendar days and not business days.

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requested under Rule 16.        If the Defendant requests all Rule 16 disclosures, the

Government must disclose and provide copies to the Defendant's attorney of the following

materials as directed herein:

      (1)    the substance of any relevant oral statement made by the Defendant, before
             or after arrest, in response to interrogation by a person the Defendant knew
             was a Government agent if the Government intends to use the statement at
             trial, Fed. R. Crim. P. 16(a)(1)(A);

      (2)    any relevant written or recorded statement by the Defendant if: the
             statement is within the Government's possession, custody, or control; and
             the attorney for the Government knows---or through due diligence could
             know---that the statement exists, Fed. R. Crim. P. 16(a)(1)(B)(i);

      (3)    the portion of any written record containing the substance of any relevant
             oral statement made before or after arrest if the Defendant made the
             statement in response to interrogation by a person the Defendant knew was
             a Government agent, Fed. R. Crim. P. 16(a)(1)(B)(ii);

      (4)    the Defendant's recorded testimony before a grand jury relating to the
             charged offense, Fed. R. Crim. P. 16(a)(1)(B)(iii);

      (5)    the statement of any organizational Defendant in accordance with Fed. R.
             Crim. P. 16(a)(1)(C);

      (6)    a copy of the Defendant's prior criminal record that is within the
             Government's possession, custody, or control if the attorney for the
             Government knows---or through due diligence could know---that the record
             exists, Fed. R. Crim. P. 16(a)(1)(D);

      (7)    books, papers, documents, data, photographs, tangible objects, buildings
             or places, or copies or portions of any of these items, if the item is within the
             Government's possession, custody, or control and: (i) the item is material to
             preparing the defense; (ii) the Government intends to use the item in its
             case-in-chief at trial; or (iii) the item was obtained from or belongs to the
             Defendant, Fed. R. Crim. P. 16(a)(1)(E);

      (8)    the results or reports of any physical or mental examination and of any
             scientific test or experiment if: (i) the item is within the Government's
             possession, custody, or control; (ii) the attorney for the Government knows-
             --or through due diligence could know---that the item exists; (iii) and the
             item is material to preparing the defense or the Government intends to use
             the item in its case-in-chief at trial, Fed. R. Crim. P. 16(a)(1)(F); and

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       (9)     a written summary of any testimony that the Government intends to use
               under Rules 702, 703, or 705 of the Federal Rules of Evidence during its
               case-in-chief at trial, Fed. R. Crim. P. 16(a)(1)(G).

An extension of the Government's disclosure deadline will only be granted for good

cause shown.

       The following material must be disclosed as noted below. The Court encourages

the early disclosure of the following material in order to avoid any unnecessary delay in

the trial of this case.

       (1)     The Government must provide reasonable notice of the general nature of
               any evidence of the Defendant’s other crimes, wrongs, or acts that---
               although inadmissible to prove the Defendant’s bad character---the
               Government believes to be admissible for other purposes, such as proof of
               motive, opportunity, intent, preparation, plan, knowledge, identity or
               absence of mistake or accident, concerning any instant charge, in
               accordance with Fed. R. Evid. 404(b).

       (2)     Brady material: Pursuant to the Due Process Protections Act, the Court
               confirms the United States' obligation to disclose to the defendant all
               exculpatory evidence-that is, evidence that favors the defendant or casts
               doubt on the United States' case, as required by Brady v. Maryland, 373
               U.S. 83 (1963) and its progeny, and ORDERS the United States to do so.
               Failure to disclose exculpatory evidence in a timely manner may result in
               consequences, including, but not limited to, exclusion of evidence, adverse
               jury instructions, dismissal of charges, contempt proceedings, disciplinary
               action, or sanctions by the Court.

       (3)     Jencks Act material: Statements of witnesses the Government intends to
               call at trial must be disclosed by not later than immediately after the witness
               has testified on direct examination. 18 U.S.C. § 3500; see also United
               States v. Green, 151 F.3d 1111, 1115 (8th Cir. 1998).

       (4)     Giglio material: Evidence of plea agreements or other promises made by
               the Government to a witness must be disclosed by not later than
               immediately prior to the testimony of the witness to whom such material
               relates, Giglio v. United States, 405 U.S. 150 (1972).

       C.      Decision not to Disclose


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      The Government may decline to make any one or more of the disclosures set forth

in paragraph “B,” if in the judgment of the Government, it would not be in the interests

of justice to make such disclosure. In that event the Government must, by the

disclosure deadline, make such declination in writing, directed to Defendant’s counsel,

and shall specify the types of disclosures that are declined. If the Defendant seeks to

challenge the declination, Defendant should proceed pursuant to paragraph “F” below.

      D.     Defendant’s Disclosures

      To the extent the Government has provided Rule 16 disclosures, within five (5)

days thereafter the Government may seek reciprocal disclosures from the Defendant by

filing a written "Notice of Request for Discovery." The Defendant shall have five (5) days

from the date of receipt of the Notice within which to provide the Government copies of

the following, to the extent the Government has provided such to the Defendant:

      (1)    books, papers, documents, data, photographs, tangible objects, buildings
             or places, or copies or portions of any of these items if: (i) the item is within
             the Defendant's possession, custody, or control; and (ii) the Defendant
             intends to use the item in the Defendant's case-in-chief at trial, Fed. R. Crim.
             P. 16(b)(1)(A); and

      (2)    the results or reports of any physical or mental examination and of any
             scientific test or experiment if: (i) the item is within the Defendant's
             possession, custody, or control; and (ii) the Defendant intends to use the
             item in the Defendant's case-in-chief at trial, or intends to call the witness
             who prepared the report and the report relates to the witness's testimony,
             Fed. R. Crim. P. 16 (b)(1)(B).

An extension of the Defendant's disclosure deadline will only be granted for good

cause shown.




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       The following material should be disclosed as noted below. The Court encourages

the early disclosure of the following material in order to avoid any unnecessary delay in

the trial of this case.

       (1)     The Defendant must, at the Government's request, give to the government
               a written summary of any testimony that the Defendant intends to use under
               Rules 702, 703, or 705 of the Federal Rules of Evidence as evidence at
               trial, if: (i) the Defendant requests disclosure under subdivision (a)(1)(G)
               and the Government complies; or (ii) the Defendant has given notice under
               Rule 12.2(b) of an intent to present expert testimony on the Defendant's
               mental condition. Fed. R. Crim. P. 16(b)(1)(C). Such disclosure should
               also be made within 5 days of the Government's notice of request for
               discovery if disclosure is mandated pursuant to subsection (i). If the
               Defendant gives notice under Rule 12.2(b), the Government does not
               need to make a separate request for disclosure if it has already filed a
               notice of request for disclosure that encompasses this subsection.
               Rather, in such case, the Defendant must provide the disclosures
               mandated under subsection (ii) at the time that notice is given under
               Rule 12.2(b).

               Similarly, the Defendant will not be obligated to make a separate request
               for disclosure under Fed. R. Crim. P. 16(a)(1)(G) if he or she has already
               filed a notice of request for disclosure that encompasses that subsection.
               Rather, in such case, the Government must give the Defendant a written
               summary of testimony that the government intends to use under Rules 702,
               703, or 705 of the Federal Rules of Evidence as evidence at trial on the
               issue of Defendant's mental condition within 5 days of service of a proper
               Rule 12.2(b) notice---with disclosures as outlined in the above paragraph-
               --by the Defendant. The summary provided must describe the witness's
               opinions, the bases and reasons for those opinions, and the witness's
               qualifications.

       (2)     After a witness other than the defendant has testified on direct examination,
               the court, on motion of a party who did not call the witness, will order an
               attorney for the Government or the Defendant and the Defendant's attorney
               to produce, for the examination and use of the moving party, any statement,
               as defined by Rule 26.2(f), of the witness that is in their possession and that
               relates to the subject matter of the witness's testimony. Fed. R. Crim. P.
               26.2(a). The parties should be prepared to provide such statements, upon
               motion, immediately after a witness testifies on direct examination.

       E.      Information not Subject to Disclosure


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      Except as provided in Federal Rule of Criminal Procedure 16(a)(1), the

Government is not obligated to disclose reports, memoranda, or other internal

government documents made by an attorney for the government or other government

agent in connection with investigating or prosecuting the case.       Nor does this rule

authorize the discovery or inspection of statements made by prospective government

witnesses except as provided in 18 U.S.C. § 3500. Fed. R. Crim. P. 16(a)(2).

      Except for scientific or medical reports, the Defendant is not obligated to disclose

(A) reports, memoranda, or other documents made by the defendant, or the defendant's

attorney or agent, during the case's investigation or defense; or (B) a statement made to

the defendant, or the defendant's attorney or agent, by: (i) the defendant; (ii) a

government or defense witness; or (iii) a prospective government or defense witness.

Fed. R. Crim. P. 16(b)(2).

      The Government is directed to maintain the “field notes” of any Government agent

made during the investigation of this case. These notes are not discoverable except on

separate Order of the Court.

      F.     Motions to Compel

      In the event either party seeks discovery or inspection of material the other party

has elected not to disclose, the requesting party may file a motion to compel disclosure.

Such motion must be filed within ten (10) days after the receipt of the declination to

disclose by the opposing party. In order to be considered by the Court, any motion

to compel disclosure must contain:




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         (1)       a statement that the parties have conferred in good faith on the specific

                   issue or issues in dispute and that they are not able to resolve their

                   disagreements without intervention of the Court; and

         (2)       the date of said conference.

In order to expedite the Court's consideration, the motion should make clear the specific

discovery or inspection issue in dispute.

         The failure to file a timely motion to compel may result in the waiver of any

objection to the declination to disclose.

G.       Continuing Duty to Disclose

         Any party’s duty of disclosure and discovery set forth in this order is a continuing

one. Fed. R. Crim. P. 16(c).

III.     OTHER DEFENSES, OBJECTIONS AND REQUESTS

         Pursuant to Federal Rule of Criminal Procedure 12(c), the Court requires that any

defense, objection or request capable of determination without trial of the general issue2

must be raised by written motion filed not later than fourteen (14) days prior to the trial

date set by the Court. Any response to such a motion must be filed within seven (7) days

after service of the motion. These time limits shall not apply, however, in the event the

Government has not provided discovery to the Defendant.

IV.      MOTIONS IN LIMINE, WITNESSES, AND EVIDENCE



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  Those matters include, but are not limited to, those listed in Fed. R. Crim. P. 12(b)(3): (1) defects in the institution of
the prosecution, (2) defects in the indictment, (3) suppression of evidence, and (4) severance under Fed. R. Crim. P.
14. Also included, without limitation, are (5) selective or vindictive prosecution, (6) outrageous Governmental
misconduct, (7) misjoinder, (8) pre-indictment delay, (9) speedy trial, (10) prejudicial publicity, (11) lack of personal
jurisdiction, (12) Posse Comitatus Act [18 U.S.C. 1385], (13) recantation as a defense to perjury, (14) limitations, (15)
double jeopardy, (16) multiple sentencing, and (17) immunity.

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       If the parties desire rulings on motions in limine prior to trial, such motions should

be filed by June 23, 2021. Responses to such motions should be filed by June 27, 2021.

If any motion in limine has not been ruled on by the date of the pretrial conference,

counsel should be prepared to present oral argument on the motion at that time.

       The Government is directed to provide the Court and Defendant copies of its

witness and exhibit lists by no later than the close of business July 1, 2021. The Court

asks that the Government's proposed exhibits be provided to Chambers in a notebook

(indexed and tabbed).

V.    JURY INSTRUCTIONS

       To the extent possible, the parties should confer regarding the proposed

instructions in an attempt to narrow areas of disagreement and should submit an

AGREED set of instructions (clearly marked "AGREED") to the Court on or before June

29, 2021. Standard instructions should be used whenever possible from the Eighth

Circuit or Federal Jury Practice and Instructions (5th Edition), as applicable, and should

note the source and/or basis of the instruction at the end of each instruction. Proposed

verdict forms should be submitted as well. If the parties cannot agree to a particular

instruction(s), the party requesting a disputed instruction must submit it to the Court and

to opposing counsel by the same date. Such instructions should be clearly marked as

"[Government's/Defendant's] DISPUTED Instruction No. ____." The legal basis for the

instruction and brief description of the parties' disagreement shall be provided with the

disputed instruction (either in the space below the instruction or attached on a separate

page). Agreed and disputed instructions/verdict forms should be submitted electronically

in WordPerfect (preferred) or Word format to tlbinfo@arwd.uscourts.gov.

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          Each party must submit to the Court by that same date a concise statement of the

case, no more than one page in length, that it proposes would be proper to read to the

panel of venire persons during voir dire.

VI.       CHANGE OF PLEA

          In the event of a decision to enter a plea of guilty, the Court and counsel opposite

must be advised in writing or by e-mail no later than ten (10) days prior to trial. A copy of

the signed plea agreement must be submitted to the court no later than seven (7) days

prior to trial at tlbinfo@arwd.uscourts.gov. Any notice of pleas received less than ten

(10) days prior to trial will result in an “open” plea (i.e. the defendant will be pleading

guilty without the benefit of a plea agreement), unless the Court, for good cause shown,

grants an exception. Exceptions must be requested in writing at least ten (10) days prior

to trial. A case will not be removed from the trial docket until a signed plea agreement has

been received and a date and time have been set for the defendant to enter a plea of

guilty.

VII.      CHANGE OF PLEA HEARING DATE

          PLEASE BE ADVISED, that upon receipt of a signed plea agreement, this case

will be set for a Change of Plea Hearing on July 2, 2021. The specific time for the hearing

will be established in the resetting text order.

          ENTERED THIS 30th day of April, 2021.




                                             BáBXÜ|Ç _A j|xwxÅtÇÇ
                                           HONORABLE ERIN L. WIEDEMANN
                                           UNITED STATES MAGISTRATE JUDGE


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